       Case 1:15-cv-05871-KPF Document 189-4 Filed 01/25/21 Page 1 of 2




EXHIBIT D:
[MARIA STROHBEHN’S LINKED IN RESUME: Downloaded August, 2015.]


Maria Strohbehn
Assistant District Attorney, Manhattan District Attorney's Office
Location
New York, New York (Greater New York City Area)
Industry
Law Practice
Maria Strohbehn's Overview
Current
• Assistant District Attorney at Manhattan District Attorney's Office
Past
• Law Clerk at U.S. Department of Justice, U.S. Attorney's Office, District of Maryland
• Intern at State Attorney's Office, Anne Arundel County
• Law Clerk at National District Attorney's Association/ American Prosecutor's Research Institute
see all...
Education
• The George Washington University Law School
• University of Maryland Baltimore County
Connections
77 connections
Maria Strohbehn's Experience
Assistant District Attorney
Manhattan District Attorney's Office
Law Practice industry
September 2008 – Present (2 years 11 months)
· Research and write various pre-trial and post-conviction motions, including motions in opposition of
dismissal, motions in opposition of vacating judgment, and motions for protective order
· Write search warrants including residences, computers, cellular telephones, and other mobile technology
· Present cases to the grand jury in Manhattan, from complex identity theft cases to domestic violence
assaults
· Investigate and prosecute long-term employee fraud
· Serve as First Chair on bench and jury trials
· Organize trial strategies by reviewing evidence and developing themes
· Collaborate with family lawyers in domestic violence-related custody and divorce issues in the
Integrated Domestic Violence Part of the New York County Supreme Court
· Volunteer, such as a presentation to adolescents in upper-Manhattan on various aspects of the criminal
law and law enforcement issues in New York, including dating violence
· Attend continuing legal education seminars including a lecture on various forms of financial evidence,
and its collection
· Write complaints to commence prosecution on the basis of a thorough review of evidence in shifts,
     Case 1:15-cv-05871-KPF Document 189-4 Filed 01/25/21 Page 2 of 2




including shifts into the early morning
· Balance a caseload of about three-hundred active cases with an aggressive court schedule· Chosen to
begin working on a bureau based project targeting gang-related violent crime in the 28th
precinct in 2011
